USCA Case #24-1178       Document #2063068          Filed: 07/03/2024    Page 1 of 3



                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                       )
 CALIFORNIA COMMUNITIES
                                       )
 AGAINST TOXICS, CLEAN POWER
                                       )
 LAKE COUNTY, COMITÉ
                                       )
 DIÁLOGO AMBIENTAL, RIO
                                       )
 GRANDE INTERNATIONAL
                                       )
 STUDY CENTER, SIERRA CLUB,
                                       )
 and UNION OF CONCERNED
                                       )
 SCIENTISTS,
                                       )
                                       )        No. 24-1178
       Petitioners,
                                       )        (Consolidated with 24-1180)
                                       )
       v.
                                       )
                                       )
 U.S. ENVIRONMENTAL
                                       )
 PROTECTION AGENCY and
                                       )
 MICHAEL S. REGAN, Administrator,
                                       )
 U.S. Environmental Protection Agency,
                                       )
                                       )
       Respondents.
                                       )

    PETITIONERS’ CERTIFICATE AS TO PARTIES, RULINGS, AND
                      RELATED CASES

      As directed by this Court’s June 4, 2024 order, Petitioners California

Communities Against Toxics, Clean Power Lake County, Comité Diálogo

Ambiental, Rio Grande International Study Center, Sierra Club, and Union of

Concerned Scientists submit this Certificate as to Parties, Rulings, and Related

Cases.

   A. Parties and Amici
USCA Case #24-1178           Document #2063068          Filed: 07/03/2024   Page 2 of 3



       i.        Parties, Intervenors, and Amici Who Appeared in the District
                 Court

       This case is a petition for review of final agency action, not an appeal from

the ruling of a district court.

       ii.       Parties to This Case

       Petitioners:

              • No. 24-1178: California Communities Against Toxics, Clean Power

                 Lake County, Comité Diálogo Ambiental, Rio Grande International

                 Study Center, Sierra Club, and Union of Concerned Scientists.

              • No. 24-1180: Ethylene Oxide Sterilization Association.

       Respondents: U.S. Environmental Protection Agency (“EPA”) and Michael

S. Regan, in his official capacity as Administrator of the EPA.

       Movant Intervenor-Respondents:

              • No. 24-1178: Ethylene Oxide Sterilization Association.

              • No. 24-1180: California Communities Against Toxics, Clean Power

                 Lake County, Comité Diálogo Ambiental, Rio Grande International

                 Study Center, Sierra Club, and Union of Concerned Scientists.

       iii.      Amici in This Case

       None at present.

       iv.       Circuit Rule 26.1 Disclosures

                 See disclosure statement filed herewith.

                                             2
USCA Case #24-1178      Document #2063068             Filed: 07/03/2024   Page 3 of 3



   B. Rulings under Review

      “National Emission Standards for Hazardous Air Pollutants: Ethylene Oxide

Emissions Standards for Sterilization Facilities Residual Risk and Technology

Review,” 89 Fed. Reg. 24,090 (Apr. 5, 2024).

   C. Related Cases

      There are no related cases other than the consolidated cases.



Dated: July 3, 2024                          Respectfully submitted,

                                             /s/ Marvin C. Brown IV
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                                             Against Toxics, Clean Power Lake
                                             County, Comité Diálogo Ambiental,
                                             Rio Grande International Study Center,
                                             Sierra Club, and Union of Concerned
                                             Scientists




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